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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                  )
    In re:                                                        ) Chapter 11 (Subchapter V)
                                                                  )
    FREE SPEECH SYSTEMS, LLC,                                     ) Case No. 22-60043 (CML)
                                                                  )
                           Debtor.                                )
                                                                  )


                   TEXAS PLAINTIFFS’ JOINDER TO THE OBJECTION
                 OF THE CONNECTICUT PLAINTIFFS TO THE DEBTOR’S
                 EMERGENCY MOTION TO APPROVE ASSUMPTION OF
               COMMERCIAL REAL PROPERTY LEASE WITH BCC UBC LLC

                  The Texas Plaintiffs1 file this joinder (“Joinder”) to the Objection of the

Connecticut Plaintiffs to the Debtor’s Emergency Motion to Approve Assumption of Commercial

Real Property Lease with BCC UBC LLC [Docket No. 452] (the “Objection”), filed in response to

Debtor’s Emergency Motion to Approve Assumption of Commercial Real Property Lease with

BCC UBC LLC [Docket No. 412] (the “Motion”). In support of this Joinder, the Texas Plaintiffs

state as follows:

                  1.      The Texas Plaintiffs join in, and hereby incorporate by reference, the

arguments made by the Connecticut Plaintiffs in the Objection.

                  2.      The Debtor filed the Motion on January 31, 2023.

                  3.      The Connecticut Plaintiffs filed the Objection on February 13, 2023.

                  4.      For the reasons stated in the Objection, the Texas Plaintiffs respectfully

request that the Court deny the Motion and grant such other and further relief as it may deem just

and proper.


1
 The “Texas Plaintiffs” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate of
Marcel Fontaine.
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Dated: February 13, 2023

 /s/ Jennifer J. Hardy
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 AND
                                                AND
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 Bankruptcy Co-Counsel to the Texas             Bankruptcy Co-Counsel to the Texas
 Plaintiffs                                     Plaintiffs
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                                CERTIFICATE OF SERVICE

        I certify that on February 13, 2023 I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.


                                              /s/ Jennifer J. Hardy
                                              Jennifer J. Hardy
